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                                                         December 31, 2019    December 31, 2020       February 28, 2021
ASSETS
Current Assets
Cash in Banks                                                3,194,234.69           916,842.21             664,961.03
Certificate of Deposit                                         112,839.88           113,998.59             113,998.59
Undeposited Funds                                                     -             122,968.50              69,653.50
        Total Cash & Equivalents                             3,307,074.57         1,153,809.30             848,613.12

Floorplan Receivables                                       10,841,622.60        12,047,270.36           12,431,563.15
Fees Receivable                                                                      82,949.00               99,661.00
Dealer Note Receivable                                                               53,159.15               54,883.95
Dealer Reserve                                                (443,905.25)         (407,016.25)            (442,744.25)
Allowance for Doubtful Accounts                                                  (3,720,319.16)          (3,720,319.16)
       Net Floorplan & Fees Receivable                      10,397,717.35         8,056,043.10            8,423,044.69

Prepaid Insurance                                                                           -
Prepaid Interest                                                 7,787.50
Prepaid Expenses                                                                     15,000.00               83,500.00

       Total Current Assets                                 13,712,579.42         9,224,852.40            9,355,157.81

Property, Plant & Equipment:
      Office Equipment & Furniture                               2,417.15             3,054.64                3,054.64
      Leasehold Improvements                                    37,219.95            37,219.95               37,219.95
      Vehicles                                                   2,761.57             7,756.57                7,756.57
              Total PP&E                                        42,398.67            48,031.16               48,031.16

       Accum. Depr. - Office Equip & Furniture                     (322.29)             (322.29)               (322.29)
       Accum. Depr. - Leasehold Improvements                     (5,169.44)           (5,169.44)             (5,169.44)
       Accum. Depr. - Vehicles                                     (933.29)             (933.29)               (933.29)
              Total Accumulated Depreciation                    (6,425.02)           (6,425.02)              (6,425.02)
              Net Fixed Assets                                  35,973.65            41,606.14               41,606.14
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                                                             December 31, 2019   December 31, 2020      February 28, 2021
Other Assets:
      Employee Loan                                                 24,000.00           24,000.00             24,000.00
      Loan to Member                                                                                          25,000.00
      Repo Inventory
      Notes & Misc. Receivable - Other                              10,000.00           10,000.00             10,586.00
              Total Other Assets                                    34,000.00           34,000.00             59,586.00

Total Assets                                                    13,782,553.07        9,300,458.54           9,456,349.95


                                                             December 31, 2019   December 31, 2020      February 28, 2021
LIABILITIES AND STOCKHOLDERS EQUITY
Current Liabilities
       Accounts Payable                                            177,597.71           82,221.89 $            139,618.26
       PPP Loan                                                                         52,720.00             52,720.00
       Floorplan Dealer Payable                                                         59,056.26             57,077.20
       Accrued Interest
       Accrued Expenses                                                                 16,092.36             20,238.01
       Accrued Salaries & Wages
       Accrued Vacation
       Payroll Tax Payable                                                                 295.90                447.12
       Due to Affiliate                                                                 10,200.00             11,900.00

               Total Current Liabilities                           177,597.71          220,586.41            282,000.59

Long Term Debt
      Investor Notes Payable (Inc. Accrued Interest)            17,687,541.62       17,358,758.37          17,448,295.36
      Other Long Term Debt
      Due to Member/Shareholder                                    568,810.13          526,885.55            526,885.55
               Total Long Term Debt                             18,256,351.75       17,885,643.92          17,975,180.91

       Total Liabilities                                        18,433,949.46       18,106,230.33          18,257,181.50
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                                                          December 31, 2019    December 31, 2020       February 28, 2021
Members' Equity
    Capital Stock                                                100,000.00           100,000.00             100,000.00
    Retained Earnings                                         (1,372,828.53)       (4,751,396.39)         (8,905,771.79)
    Current Period Earnings                                   (3,267,612.47)       (4,154,375.40)              4,940.24
       Member Contribution/(Distributions)                     (110,955.39)                  -                       -
                Total Stockholders' Equity                    (4,651,396.39)       (8,805,771.79)         (8,800,831.55)
Total Liabilities & Stockholders' Equity
                                                             13,782,553.07         9,300,458.54            9,456,349.95

                                                                        -                    -                       -
